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            EXHIBIT 
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From:           Eric Dunn
To:             St. George, Timothy J.; dan.cohen@troutmansanders.com
Cc:             david.anthony@troutman.com; Sarah White; Salmun Kazerounian; Greg Kirschner
Subject:        Re: Arroyo et al v. Corelogic Rental Property Solutions
Date:           Wednesday, January 9, 2019 2:47:27 PM
Attachments:    Discovery conference follow up 1-9-2019.pdf


Tim--
Good chatting with you today. Attached please find a letter which I hope accurately
summarizes everything we agreed on.
Thanks.
--EGD


Eric Dunn
Director of Litigation
National Housing Law Project
919 E. Main Street, Ste. 610
Richmond, VA 23219
Tel: (415) 546-7000, ext. 3102


On Fri, Jan 4, 2019 at 1:23 PM Eric Dunn <edunn@nhlp.org> wrote:
 Hi Tim, Dan, and David-
 I am writing to schedule a discovery conference regarding Corelogic's responses to
 plaintiffs' first set of requests for production. See attached letter. If the proposed time
 doesn't work for you, please let me know and we can find another time.

  Thanks.
  --EGD


  Eric Dunn
  Director of Litigation
  National Housing Law Project
  919 E. Main Street, Ste. 610
  Richmond, VA 23219
  Tel: (415) 546-7000, ext. 3102
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January 9, 2019

Timothy J. St. George
Troutman Sanders LLP
Troutman Sanders Bldg.
1000 Haxall Point
Richmond, VA 23219
By email only to: tim.st.george@troutman.com

        Re: Arroyo et al. v. Corelogic Rental Property Solutions, LLC, Cause No. 3:18-cv-00705-VLB

Dear Counsel:

Thank you for speaking with us by phone on January 9, 2019, regarding Plaintiffs’ First Set of Requests
for Production. In our call, we agreed to take the following steps to resolve Plaintiffs had raised about
Corelogic’s responses:

    x   Regarding Request for Production No. 6, you agreed to inquire with Corelogic regarding document
        retention policies and update us on what materials may be available;

    x   Regarding Request for Production No. 7, you described the inquiries you made with Corelogic regarding
        potentially responsive materials. We agreed that your explanation satisfied our concern that not all
        responsive materials had been identified.

    x   Regarding Requests for Production Nos. 10, 12, 16, and 19, we expressed concern that many of the
        documents produced in response contained unidentified redactions. In particular we referenced
        documents bearing Bates numbers 264-337 and 342-408 You agreed to review the redacted materials
        and provide high-level descriptions of the redacted items;

    x   Regarding Requests for Production Nos. 13 and 14, you stated that Corelogic cannot provide Mikhail
        Arroyo’s consumer filed without current verification that Carmen is his conservator. We agreed to obtain
        updated verification and provide this to you;

    x   Regarding Requests for Production Nos. 27-29, you agreed to review the requests with appropriate
        technical personnel from Corelogic and update us on what responsive information might exist and your
        position regarding its production;

    x   Regarding Request for Production No. 31, you agreed to provide us with the information necessary to
        interpret review the requests with appropriate technical personnel from Corelogic regarding documents
        produced under Bates Nos. 205, 341 and 342. You also agreed to review the request with appropriate
        technical personnel from Corelogic in the expectation of providing a database schema, data dictionary,
        and or other documents describing the structure of any databases relating to or used by CrimSAFE and
        the meaning of the data they contain. You agreed to update us on what such responsive information
        might exist and your position regarding its production;

    x   Regarding Request for Production No. 32, we expressed the belief that Corelogic likely has documents
        which state or indicate what types of reports its criminal records databases are capable of generating, and




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        that such materials would have been responsive. We were not able to come to a specific agreement on
        additional action steps, however. But we did recognize that additional information or materials produced
        in response to Request No. 31 could fully or partially resolve our concerns in connection with No. 32.
        Therefore, we agreed to await your updates regarding No. 31 and then revisit this request for production
        thereafter.

    x   Last, we stated that we objected to the confidentiality designation made on documents bearing Bates
        numbers 1-433, save for a user name and password on pages 252-253. You agreed to review the
        designation of confidentiality and update us on your position.

We agreed that each of the respective tasks we have agreed to perform shall be completed no later
than January 18, 2019.

Following the discovery conference portion of the call, we also discussed some additional
housekeeping matters, and decided:

    x   Plaintiffs will email you a proposal for pushing back expert witness disclosure deadlines by 30 days;

    x   Plaintiffs will email you by Friday, Jan. 11, regarding our position on whether defendant bears burden of
        proof on any issues (and would therefore need to designate an expert by first deadline); and

    x   The parties will inquire with Judge Bryant as to the status of the pending motion to dismiss at the
        discovery call scheduled for early March, if no decision has been issued by then.

I hope you will agree this letter accurately summarizes our agreements as to each issue. If you feel I
have misstated any item, please let me know at your earliest opportunity. As always, you can reach me
at edunn@nhlp.org or by telephone (415-432-5702).

Sincerely,


EGD
Eric Dunn
National Housing Law Project

cc: Salmun Kazerounian, Greg Kirschner, Sarah White, Daniel Cohen, Anthony David




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